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   6
       Attorneys for Plaintiff Athena Cosmetics, Inc.

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   8
                                   UNITED STATES DISTRICT COURT

   9
                     CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

  10   Athena Cosmetics, Inc.,                    No. 2:20-cv-05526-SVW-SHK
  11        Plaintiff,                            Notice of Lodging Disclosure of Graphic and Il-
                v.                                lustrative Material
  12
       AMN Distribution Inc., et al,
  13                                              Trial Date: November 16, 2021
            Defendants.                           Judge Wilson
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              Per Per L.R. 16-3, Plaintiff Athena Cosmetics, Inc. disclosed a copy of its Dis-

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       closure of Graphic and Illustrative Material on opposing counsel by the November 5,

  17
       2021 deadline. Plaintiff now hereby lodges a courtesy copy with the Court to aid in

  18
       the management of this trial. The Materials will be forwarded as a chambers copy to

  19
       Judge Wilson.

  20
       November 9, 2021,                                 /s/ Marina Lang
  21                                                     Marina Lang
  22                                                     SoCal IP Law Group LLP
  23
                                                         Attorneys for Athena Cosmetics, Inc.

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        Notice of Lodging Graphic and Illustra-                    Athena Cosmetics, Inc v. AMN et al.
        tive Material                                1             Case No.: 2:20-cv-05526-SVW-SHK
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   1                                 CERTIFICATE OF SERVICE
   2
            I certify on November 9, 2021, I served the foregoing document “Notice of
       Lodging Disclosure of Graphic and Illustrative Material” by email to all counsel reg-
   3   istered with CM/ECF on this case, namely David C Voss , Jr. (dave@vsbllp.com) and
   4
       Maria Franco (maria@vsbllp.com).

   5
       November 9, 2021                          /s/ Anneliese Lomonaco
                                                 Anneliese Lomonaco
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       Notice of Lodging Graphic and Illustra-               Athena Cosmetics, Inc v. AMN et al.
       tive Material                             2           Case No.: 2:20-cv-05526-SVW-SHK
